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                        EXHIBIT D
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 1                  BEFORE THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3   FAIRHOLME FUNDS, INC., et al.,  .
                                     .
 4             Plaintiffs,           .
                                     .       Case Number 13-cv-1053
 5         vs.                       .
                                     .
 6   FEDERAL HOUSING FINANCE AGENCY, .
     et al.,                         .
 7                                   .
               Defendants.           .
 8   - - - - - - - - - - - - - - - -
     In re FANNIE MAE/FREDDIE MAC    .       Case Number 13-mc-1288
 9   SENIOR PREFERRED STOCK PURCHASE .
     AGREEMENT CLASS ACTION          .       Washington, D.C.
10   LITIGATIONS.                    .       October 26, 2022
     - - - - - - - - - - - - - - - -         1:54 p.m.
11

12              TRANSCRIPT OF JURY TRIAL, AFTERNOON SESSION
                   BEFORE THE HONORABLE ROYCE C. LAMBERTH
13                     UNITED STATES DISTRICT JUDGE

14   APPEARANCES:

15   For Berkley Plaintiffs:         BRIAN BARNES, ESQ.
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     For Class Plaintiffs:           LEE RUDY, ESQ.
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24

25                          -- continued --
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 1   Q.   And you referred a couple of times already to ensuring the

 2   accuracy of financial statements.

 3   A.   Uh-huh.

 4   Q.   I take it that that was your -- part of your responsibility

 5   as well?     You were responsible for ensuring the accuracy of

 6   Freddie Mac's financial statements?

 7   A.   I was responsible for managing the process that was focused

 8   on ensuring the accuracy of the financial statements.

 9   Q.   And when you talk about financial statements, are you

10   talking about 10-Ks and 10-Qs and things like that?

11   A.   10-Ks and 10-Qs are the primary regulatory financial

12   statements.    It's also earnings releases, you know, various

13   forms of reporting to the board, forms of reporting to the

14   regulator.

15   Q.   Mr. Kari, you've been handed a document marked PX-101.

16   It's the minutes of a Freddie Mac board of directors meeting

17   dated June 3, 2011.     There's a Bates number, which is a number

18   at the lower right-hand corner, FHLMC 00000610 through 6122.

19   I'm just going to ask you a few questions about this.

20        The third paragraph on the first page, it indicates you

21   were in attendance at that meeting; correct?

22   A.   Yes.

23   Q.   Near the bottom of that bottom paragraph,

24   "he" -- there's a discussion, "he," which I think is referring

25   to you, and this is the very last line on that page.
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 1   would have seen when you were at Freddie Mac?

 2   A.      I would have seen this document while I was at Freddie Mac.

 3   Q.      And I think you testified earlier that you were responsible

 4   for ensuring the accuracy of financial statements; is that

 5   correct?

 6   A.      That's right, through the work of all the -- the work of

 7   all of the staff that report to me.

 8   Q.      Exactly.   Okay.

 9           If you could turn to page 10, please, and just look under

10   where the paragraph -- the paragraph that's headed "long-term

11   financial sustainability."      I will read it into the record.

12           "There is significant uncertainty as to our long-term

13   financial sustainability.      The acting director of FHFA stated on

14   September 19 that" -- I'm sorry.       I will just do the second

15   paragraph.

16           "We expect to request additional draws under the purchase

17   agreement in future periods.      Over time, our dividend obligation

18   to Treasury will increasingly drive future draws.          Although we

19   may experience period-to-period variability in earnings and

20   comprehensive income, it is unlikely that we will generate net

21   income or comprehensive income in excess of our annual dividends

22   payable to Treasury over the long term."

23           Was that -- to your knowledge, was that accurate at the

24   time?

25   A.      To my knowledge, that was accurate at the time.
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 1   Q.      Okay.    Let's turn now to page 92, which is only a couple

 2   pages behind that.

 3           Under "capital resources," the second paragraph says, "We

 4   expect to request additional draws under the purchase agreement

 5   in future periods.      Over time, our dividend obligation to

 6   Treasury on the senior preferred stock will increasingly drive

 7   future draws.      Although we may experience period-to-period

 8   variability in earnings and comprehensive income, it is unlikely

 9   that we will generate net income or comprehensive income in

10   excess of our annual dividends payable to Treasury over the long

11   term.    In addition, we are required under the purchase agreement

12   to pay a quarterly commitment fee to Treasury, which could

13   contribute to future draws if Treasury does not" waive -- "does

14   not continue to waive the fee."

15           Was that an accurate statement?

16   A.      Yes.

17   Q.      Okay.    Thank you.   I have no more questions on this

18   document.

19           Now, if you wouldn't mind turning to Defendants'

20   Exhibit 369 of the exhibits that you were already handed today,

21   if you can dig it out.        I would like to draw your attention on

22   page 9 to the third paragraph from the bottom that starts "we

23   expect."       And what I'm going to read is going to be similar to

24   what I read before.

25           "We expect to request additional draws under the purchase
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 1   agreement in future periods.      Over time, our dividend obligation

 2   to Treasury will increasingly drive future draws.          Although we

 3   may experience period-to-period variability in the earnings and

 4   comprehensive income, it is unlikely that we will generate net

 5   income or comprehensive income in excess of our annual dividends

 6   payable to Treasury over the long term.        In addition, we are

 7   required under the purchase agreement to pay a quarterly

 8   commitment fee to Treasury, which could contribute to future

 9   draws if the fee is not waived.       Treasury waived the fee for all

10   quarters of 2011 and the first quarter of 2012, but it has

11   indicated that it remains committed to protecting taxpayers and

12   ensuring that our future positive earnings are returned to

13   taxpayers as compensation for their investment.         The amount of

14   the quarterly commitment fee has not yet been established and

15   could be substantial."

16        Was that your understanding at the time?

17   A.   That's correct.

18   Q.   Now, if we could turn to Defendants' Exhibit 527.

19   A.   Okay.

20   Q.   I would just like to -- and the date on this document is

21   draft, August 14th, 2012.      I think we established that already.

22        If you wouldn't mind turning back to page 2, and if you

23   look at the fourth bullet point on the right-hand side.

24   A.   Uh-huh.

25   Q.   It states, "Over the long term, it is likely that our
